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PLAINTIFF'S
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On behalf of the 6 ails Of
Mr. Thomas Avery Raven

We would fi ke to thank you for ‘your attendance and
_ Rind expressions of sympathy

| | Order of Service

eee a Two Wings, Christianairs

Musical Selection — . Isaiah Singleton
i. 6 log Testament

New Testament

tistical Riiction =. = Doug Jackson
Remarks limited to 2 Minutes

Obituary read in silence :

Eulogy ss Rew. James Singleton
Kecessional— Going up Yonder CD
Go to Cemetery for Interment

_ Repass at the funeral home —

Snail: Enough fo Know You, Large ‘Enough to Serve You”
| Memorial Park tunteral Home
North Rrverside € ape
oo ORs ‘Kyverside Drive
ae “Gaineserlte, (eorgut 30501
£#0-297-6200

 
  
    

 

: Mr. Thomas Avery Raven of Gainesville, Georgia age
62, passed away Tuesday, November 19, 2019 tm ‘Macon,
Georgia.

_ Funeral services will be held at 1:00 pin Monday,

November 25, 2019 at Memonal Park North Riverside Chapel
with interment to follow in Rock, Springs Campground
Cemetery, Mossy Creek, White C ounty, GA. The family will
recetve frends from 6 to 8 pm Sunday, November 24, 2019 at
the funeral ome, - - : : -
7 Thomas was born in Gainesville, Georgia on November
1¢, 1957 he is the son of Edna (Singleton) Raven Dorsey and
the late Withe James Raven, He js also preceded in death by
fis son, Carlos: step-father, John C. Dorsey, Sr. brothers.
Larry Raven, Tracy Raven, Tim ‘Raven and a sister, Laurae
Dorsey, :
| Thomas 1s survived by fis mother, Rev. Edna Dorsey;
his children, Enrico, Avery, Kimberly, Anel and Tleah; {1
grandchildren; brothers, Harry Raven and Anthony Raven:
sisters, Karen Ware (Iodd) and Eleanor Stringer (David):
aunts, Mrs. Marietta Jackson and Maudeff Singleton, He is
also survived by his loving companion, Cassonya Pugh. He is
also survived by a number Of nieces, nephews a nd other family

and friends,

Thomas was the 4% of 9 children. He attended Kasi
Hall High School and White County High School He also
attended North Georgia Technical Cole i

ge in Clarkesville. 342
enjoyed traveling and fast cars.

Memorial Park Funeral Home North Riverside Chapel 980 Riverside
charge of arrangements,

Send online condolences ta waar memoriahnartinersbi sm

  

   
       
     
        
    
     
   
     
      
   
 
 
  
 
 
   
 
 
 
  
  
   
  
 
  
   

 

 
  
   
  
 
 
    
   
   

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